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                             UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )      8:08CR38
                                                       )
                       vs.                             )      FINAL ORDER OF
                                                       )      FORFEITURE
                                                       )
BRUCE VALENTINE,                                       )
                                                       )
                               Defendant.              )


       NOW ON THIS 2nd day of December, 2008, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture. The Court reviews the record in this case and,

being duly advised in the premises, find as follows:

       1. On August 25, 2008, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 846 and 853, based upon the Defendant's plea

of guilty to Counts I and II of the Indictment filed herein. By way of said Preliminary Order of

Forfeiture, the Defendant’s interest in $1,339.00 in United States currency was forfeited to the

United States.

       2. Notice of Criminal Forfeiture was posted on an official government internet site

(www.forfeiture.gov) for at least thirty consecutive days, beginning on September 26, 2008, as

required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions. A Declaration of Publication was filed herein on December 1, 2008 (Filing

No. 91).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.
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       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $1,339.00 in United States currency, held by any

person or entity, is hereby forever barred and foreclosed.

       C. The $1,339.00 in United States currency, be, and the same hereby is, forfeited to the

United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 2nd day of December, 2008

                                                      BY THE COURT:



                                                      s/ Joseph F. Bataillon
                                                      JOSEPH F. BATAILLON, CHIEF JUDGE
                                                      United States District Court
